                 Case 2:18-cr-00024-TLN Document 74 Filed 01/10/19 Page 1 of 3


 1   Etan Zaitsu [SBN 287106]
     Attorney-at-Law
 2   1107 Ninth Street, Suite 625
 3   Sacramento, CA 95814
     916.542.0270
 4
     Attorney for Defendant
 5   JOSHUA MARKANSON
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 7
                           IN THE UNITED STATES DISTRICT COURT
 8
                        FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10
     UNITED STATES OF AMERICA,                           Case No.: 2:18-CR-00024 GEB
11
                                    Plaintiff,           STIPULATION AND [PROPOSED]
12                                                       ORDER TO CONTINUE STATUS
            v.
                                                         CONFERENCE
13
     DONTE ROBINS,
14   ISAIAH BURKS,                                       DATE: January 11, 2019
     RAYSHAWN WRAY, AND                                  TIME: 9:00 a.m.
15   JOSHUA MARKANSON,                                   COURT: Hon. Garland E. Burrell, Jr.
16                                  Defendants.

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18
19          Defendants Donte Robins, Isaiah Burks, Rayshawn Wray, and Joshua Markanson,
20   through their counsel of record, and the United States of America, through its undersigned
21   counsel, stipulate that the status conference currently set for January 11, 2019 be continued to
22   April 12, 2019, at 9:00 a.m.
23          In March 2018, Mr. Robins and Mr. Markanson were arraigned on the nine-count
24   Superseding Indictment. (ECF Nos. 15, 21, 22.) Mr. Burks was arraigned in May 2018 (ECF
25   No. 37.), while Mr. Wray was arraigned in November 2018 (ECF. No. 6.) The government
26   originally produced to defense counsel the discovery relevant to this case. This includes 139
27   pages of written materials and roughly 130 photos, as well as fifteen compact disks containing
28   dozens of audio and video files.

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     STIPULATION AND [PROPOSED] ORDER TO CONTINUE STATUS CONFERENCE
                Case 2:18-cr-00024-TLN Document 74 Filed 01/10/19 Page 2 of 3


 1            In mid-November, the government produced additional Brady v. Maryland, 373 U.S.
 2   83 (1963), and Giglio v. United States, 405 U.S. 150 (1972) discovery regarding a former ATF
 3   agent involved in the present case who is under investigation. Defense counsel will require
 4   time to review these new materials, as well as the materials already produced, time to conduct
 5   research and investigation about the charged offenses and potential defenses, and time to
 6   otherwise prepare for trial.
 7            Based on the foregoing, defendants Robins, Burks, Wray and Markanson (through
 8   counsel) stipulate that the status conference currently set for January 11, 2019, be continued to
 9   April 12, 2019, at 9:00 a.m. The parties further agree that time under the Speedy Trial Act
10   should be excluded from the date the parties stipulated, up to and including April 12, 2019,
11   under 18 U.S.C. § 3161(h)(7)(A) and (B)(iv)[reasonable time to prepare], and General Order
12   479 [Local Code T4], based on continuity of counsel and defense preparation.
13            The parties agree that the failure to grant a continuance in this case would deny defense
14   counsel reasonable time necessary for effective preparation, taking into account the exercise of
15   due diligence. The parties also agree that the ends of justice served by the Court granting the
16   requested continuance outweigh the best interests of the public and the defendants in a speedy
17   trial.
18   Respectfully submitted,
19   Dated: January 9, 2019                                /s/ Timothy H. Delgado
                                                           TIMOTHY H. DELGADO
20                                                         Assistant United States Attorney
21                                                         Attorneys for Plaintiff United States

22   Dated: January 9, 2019                                /s/ Linda C. Allison
                                                           LINDA C. ALLISON
23                                                         Assistant Federal Defender
24                                                         Attorney for Defendant Donte Robins

25   Dated: January 9, 2019                                /s/ Philip Cozens
                                                           Philip Cozens
26
                                                           Attorney for Defendant Isaiah Burks
27
     Dated: January 9, 2019                                /s/ Etan Zaitsu
28                                                         ETAN ZAITSU
                                                           Attorney for Defendant Joshua Markanson
                                                      2
     STIPULATION AND [PROPOSED] ORDER TO CONTINUE STATUS CONFERENCE
               Case 2:18-cr-00024-TLN Document 74 Filed 01/10/19 Page 3 of 3


 1   Dated: January 9, 2019                                 /s/ Todd Leras
                                                            TODD LERAS
 2                                                          Attorney for Defendant Rayshawn Wray
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 6
                                          [PROPOSED] ORDER
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            The Court, having received and considered the parties’ stipulation, and good cause
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     appearing therefore, adopts the parties’ stipulation in its entirety as its order. The Court
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     specifically finds that the failure to grant a continuance in this case would deny counsel
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     reasonable time necessary for effective preparation, taking into account the exercise of due
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     diligence. The Court also finds that the ends of justice served by granting the requested
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     continuance outweigh the best interests of the public and the defendant in a speedy trial.
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            The Court orders that the time from the date the parties stipulated, up to and including
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     April 12, 2019, shall be excluded from computation of time within which the trial in this case
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     must begin under the Speedy Trial Act, 18 U.S.C. § 3161(h)(7)(A) and (B)(iv) [reasonable
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     time to prepare], and General Order 479 [Local Code T4]. It is further ordered that the January
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     11, 2019 status conference be continued until April 12, 2019, at 9:00 a.m.
18
     Dated: January 10, 2019
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     STIPULATION AND [PROPOSED] ORDER TO CONTINUE STATUS CONFERENCE
